                  Case 5:24-mj-01092 Document 3 Filed on 08/26/24 in TXSD Page 1 of 3
                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                  August 26, 2024
                                                                                 Nathan Ochsner, Clerk




I find probable cause that the defendant(s)
committed an offense against the laws of the
United States and may be therefore further
detained pending presentment before a judicial
officer.

August 26, 2024, 03:23 PM, at Laredo, Texas.
Case 5:24-mj-01092 Document 3 Filed on 08/26/24 in TXSD Page 2 of 3
Case 5:24-mj-01092 Document 3 Filed on 08/26/24 in TXSD Page 3 of 3
